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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

JONATHAN DOUCETTE,
Plaintiff,

v.

CIVIL ACTION NO. l:19-CV-lO()31-GAO

CARMAX AUTO SUPERSTORES, INC.

Defendant.

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DECLARATION OF KAREN HOLT

I, Karen Holt, declare as follows:

l. l am employed with CarMax Auto Superstores Services, Inc., a subsidiary of
CarMaX, Inc., as its Divisional Director, Human Resources. CarMaX, Inc., and its subsidiary and
affiliated entities are collectively referred to herein as “CarMaX”. I have held this position since
October 16, 2014, and have been employed with Carl\/lax in other roles since March l, 2004. Prior
to my position as Divisional Director, l was Regional Human Resources Director for CarMaX from
January 2005 until October 2014.

2. I have personal knowledge of Carl\/lax’s arbitration and employee dispute
resolution programs, of CarMaX’s personnel policies and practices, of its application and hiring
process, and of its practices regarding maintaining custody of personnel and dispute resolution
program documents l also have knowledge of the terms of employment and job duties of
CarMax’s employees (also called associates), including its sales consultants l am familiar with
how these employees generally perform their jobs and how CarMaX conducts business at its store
locations.

3. Based upon my personal experience, as well as reviewing Carl\/lax business records,
l have personal knowledge of the matters contained herein, and if called, l would and could testify
competently to these matters

4. l am aware of the legal action filed by Plaintiff Jonathan Doucette (“Plaintiff’)

 

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against CarMax, entitled Jonathcm Doucette v. CarMax Auto Superstores, Inc., Civil Action 1119-
cv-1003l-GAO, pending in the U.S. District Court for the District of Massachusetts.

5. Since March 2005, Carl\/Iax has had in place an online electronic employment
application process that is accessed through the internet and that is administered by Carl\/lax and
Kronos The online application is a series of screens that present information or questions to
individuals interested in employment with CarMax. The individuals must view each screen and
provide the required responses before advancing to the next screen. During the process, the
individual consents to the use of electronic transactions in order to proceed with the online (rather
than a paper) application The application screens include a screen with information concerning
the terms of Carl\/lax’s Dispute Resolution Agreement, to which the individual must indicate
consent before being allowed to move to the next screen.

6. The application process in effect at the time of l\/lr. Doucette’s application in
February 2016 required an individual to access the application online, provide requested personal
and employment information, and advance through various screens After providing information
such as work history and requested work schedule, the individual was presented with screens
explaining certain required notices and disclosures Under the heading of “Carl\/Iax Dispute

Resolution Agreemen ”, the individual was required to review the following:

If you wish to be considered for employment with Carl\/Iax Auto Superstores,
Inc., or its subsidiaries and affiliates (collectively “Carl\/lax”), you must read and
consent to the following agreement

l recognize that differences may arise between Carl\/lax and me during my
application for employment With Carl\/lax. I recognize that it is in the interest of
both CarMax and me that disputes be resolved in a manner that is fair, private,
expeditious economical, final, and less burdensome or adversarial than court
litigation CarMax has an effective Open Door Policy, and I will try to take
advantage of it where feasible. I understand, however, that not all issues can be
resolved using the Open Door Policy.

Except as set forth below, and as more fully set forth in the CarMaX Dispute
Resolution Rules and Procedures, both CarMax and l agree to settle any and all
previously unasserted claims, disputes or controversies arising out of or relating
to my application or candidacy for employment and employment and/or cessation
of employment with CarMax, exclusively by final and binding arbitration before
a neutral Arbitrator. By way of example only, such claims include claims under

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federal, state and local statutory or common law, such as the Age Discrimination
in Employment Act, Title VII of the Civil Rights Act of 1964, as amended,
including the amendments of the Civil Right Act of 1991, the Americans with
Disabilities Act, the Family Medical Leave Act, and the law of contract and law
of tort. The scope of the claims covered, as well as certain exclusions from
coverage and other important terms, are set forth in the Dispute Resolution Rules
and Procedures

I understand that if I do file a lawsuit regarding a dispute arising out of or relating
to my application or candidacy for employment, employment, or cessation of
employment, Carl\/Iax may use this Agreement in support of its request to the
court of dismiss the lawsuit and require me instead to use arbitration

l understand that nothing in this Agreement is intended to affect or limit my rights
under the National Labor Relations Act and my right to file charges or seek other
relief with the Equal Employment Opportunity Commission or similar federal,
state, or local agency, but that upon receipt of a right-to-sue letter or similar
administrative determination I shall arbitrate any claim that I may have against
Carl\/lax that is covered by this Agreement or the Rules l agree that if l
commence an arbitration, it will be conducted in accordance with the Carl\/lax
Dispute Resolution Rules and Procedures

I understand that neither this Agreement nor the Dispute Resolution Rules and
Procedures form a contract of employment between CarMax and me. I further
understand that my consent to this Agreement in no way guarantees that Carl\/Iax
will offer me employment If CarMax does offer me employment and l become
employed at CarMax, this Agreement in no way alters the “at-will” Status of my
employment l understand that my employment, compensation, and terms and
conditions of employment can be altered or terminated, with or without notice, at
any time, at the option of either CarMax or myself. l understand that no store
manager or representative of CarMax, other than an Officer of Carl\/Iax at the
level of Vice President or above, has any authority to enter into any agreement
for employment for any specific duration, to make any agreement contrary to the
foregoing, or to alter the Carl\/Iax Dispute Resolution Rules and Procedures

The Dispute Resolution Agreement and the Dispute Resolution Rules and
Procedures affect your legal rights By consenting to this Agreement, you
acknowledge receipt of the Dispute Resolution Rules and Procedures. You may
wish to seek legal advice before consenting to this Dispute Resolution
Agreement

Click here to view CarMax Disputed Resolution Agreement Rules and
Procedures

l have read this Agreement and the Dispute Resolution Rules and Procedures
before submitting this Application and before accepting an offer of employment
with CarMax.

I understand that I may withdraw my consent to this Agreement within three (3)
days from the date on which I consent by notifying the Background Screening

 

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Department in writing (including my Social Security Number and address of the
place at which l applied for employment) that l am withdrawing my application
for employment at Carl\/Iax. The address for the Background Screening
Department _

CarMax Auto Superstores, Inc.

Background Screening Department

12800 Tuckahoe Creek Parkway

Richmond, Virginia 23238

I understand that by so notifying the Background Screening Department in
writing, l will not be bound to this Agreement and that l no longer will be eligible
for employment at Carl\/Iax. I recognize that if I consent to this Agreement and
do not withdraw with three days of consenting I will be required to arbitrate, as
explained above, employment-related claims which l may have against Carl\/Iax,
whether or not l become employed by Carl\/Iax.

This Agreement will be enforceable throughout the application process, my
employment, and thereafter with respect to any such claims arising from or
relating to my application or candidacy for employment, employment or cessation
of employment with CarMax. We then must arbitrate all such employment-
related claims that are within the scope of this Agreement and the Rules, and we
may not file a lawsuit in court.

Carl\/Iax agrees to consider this Employment Application and to follow this
Dispute Resolution Agreement and the Dispute Resolution Rules and Procedures
in connection with the Associate who is completing this application

Please indicate your consent to the Carl\/Iax Dispute Resolution Agreement by
entering your first and last name, and marking “Yes, I do consent”.

The section asking the individual to “Click here” was an active link to the Carl\/lax Dispute
Resolution Rules and Procedures After reviewing these statements the individual was required
to enter his or her legal first name and legal last name and was required to click the button for
“Yes, l do consent” in order to proceed with the application Near the end of the online application
process, the individual was required to certify that the information provided to CarMax was true,
accurate, and complete.

7. An individual who failed to provide the requested consent to the Carl\/Iax Dispute
Resolution Agreement would not advance to the next screen in the online application and would
not be able to complete or submit the application The individual was allowed to exit the program
and return later if the individual needed additional time to consider the Dispute Resolution

Agreement

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8. After the individual completed the online application and submitted it to Carl\/lax,
the information and responses provided by the individual online would be compiled on pages l to
3 of a six page Employment Application Summary. After CarMax’s review of the information
provided, the next step would be an invitation to qualified individuals for a phone interview or a
personal interview by a hiring manager at the particular location At the beginning of a personal
interview, the individual was required to review a paper copy of the Employment Application
Summary, including pages l to 6, and confirm that the information previously provided online was
true, accurate, and complete. The information reviewed by the individual on the paper copy
included the “Yes” response to the question of whether the individual agreed to the Carl\/lax
Dispute Resolution Agreement. At the bottom of page 3, the individual must sign and date the
representation that the information was true, accurate, and complete and must indicate his or her
agreement to the terms of employment outlined on page 3 of the Summary. Pages 4 to 6 of the
Summary set forth in full the consumer credit report Disclosure and Authorization, the Carl\/Iax
Dispute Resolution Agreement (“DRA”), and a signature page for the DRA. The individual must
review and sign page 4 and sign and date page 6. An individual who did not sign the DRA page
or the Disclosure and Authorization page was not permitted to go forward with the remainder of
the interview process

9. On January 30, 2016, Jonathan Doucette submitted an online employment
application to Carl\/lax. He submitted personal information to Carl\/lax that included his address
on Andersen Drive in Boxford, MA, his email address (“@kellyauto.com”), phone number, social
security number, requested work schedule, and work history. When prompted, he selected his
birth month and date to signify his agreement to the terms of employment set forth under the “At
Will” heading. In the Section titled Dispute Resolution Agreement, Doucette entered his Legal
First Name and Legal Last Name, as prompted, and marked “Yes, l do consent” to the question
asking if he agreed to the Carl\/Iax Dispute Resolution Agreement.

10. A true and correct copy of the business record maintained by Carl\/Iax and Kronos
showing the application statements and screens with the DRA and other notices and also

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Doucette’s responses is attached as Holt Declaration Exhibit A. Information and responses that
Doucette submitted in the online application were compiled in pages 1 to 3 of the Employment
Application Summary, a true and correct copy of which is attached as Declaration Exhibit B.
During a subsequent personal interview on February 3, 2016, with Sharita Bernier, Doucette was
presented a paper copy of the Employment Application Summary. Doucette signed page 3, and
he signed and dated page 4. On pages 5 and 6, the Carl\/Iax Dispute Resolution Agreement was
set forth in its entirety. On page 6, at the end of the DRA, he signed below the word “Agreed” and
added the date and his social security number (redacted on Exhibit B). The records presented to
Doucette during his personal interview on February 3 included a copy of the Carl\/lax Dispute
Resolution Rules and Procedures

11. Carl\/lax hired Jonathan Doucette as a sales consultant trainee. Doucette began his
employment on February 9, 2016. His status was changed to sales consultant in March 2016. A
copy of the job description for a sales consultant is attached as I-Iolt Declaration Exhibit C.
Doucette voluntarily ended his employment with CarMax in August of 2016.

12. At the time of Doucette’s February 2016 hire, the December 2014 version of the
Carl\/Iax Dispute Resolution Rules and Procedures (“DRRP”) was in effect and is the version
applicable to Doucette’s claims The December 2014 version has not been modified since it went
into effect. A true and correct copy of the 2014 DRRP is attached as Holt Declaration Exhibit D.

13. In my capacity as Divisional Director, Human Resources, l am familiar with
Carl\/lax’s practices for creating, collecting, and maintaining its personnel records Attached as
Holt Declaration Exhibit A is a true and correct copy of the record of online activity by Doucette
on January 30, 2016, and of Doucette’s responses during the online application process Attached
as Holt Declaration Exhibit B is a true and correct copy of the Employment Application Summary
and Carl\/lax Dispute Resolution Agreement (“DRA”) that was presented to and signed by
Doucette on February 3, 2016. Attached as Holt Declaration Exhibits C and D respectively are
true and correct copies of the position description for CarMax’s sales consultants in Massachusetts,
as signed by Jonathan Doucette on February 3, 2016, and a true and correct copy of the DRRP that

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went into effect for all associates on December 31, 2014. The records contained in these exhibits
have been maintained as a business record in the personnel records of CarMax and Kronos since
the time of Jonathan Doucette’s application for employment or since the time of their being made.
These records are prepared and kept in the regular course of business of CarMax, and it was the
regular course of business for a CarMax employee or Kronos representative with knowledge of
the acts and events to make these records and to transmit the information contained in the records
These records were made at or near the time of the acts or events recorded or reasonably soon
thereafter.

14. Jonathan Doucette did not withdraw his consent to the DRA, as allowed by its
terms, and did not otherwise provide notice to CarMax of` any intent to opt out of the DRA. The
DRA attached as Holt Declaration Exhibit B was agreed to on behalf of CarMax by its Vice
President of Human Resources, Scott Rivas

15. CarMax is the largest national car retailer in the United States, with sales locations
in 41 states, including Massachusetts. As a result, CarMax employees often engage in interstate
transactions as part of their job duties CarMax makes its national sales inventory available to all
customers regardless of the state in which the customer resides or the location that they may visit.
As part of the CarMax sales process, customers may review CarMax’s national sales inventory
online from their own computers or devices or on CarMax computers in a particular store. CarMax
sales consultants are trained to work with the customer to find a vehicle in the national CarMax
inventory that will best meet the customer’s needs In performing this duty, a sales consultant will
regularly review and recommend cars from CarMax’s national inventory and identify any cars
across the country that have been purchased for resale or are being reconditioned or repaired for
resale by CarMax. If the sales consultant finds a car which interests a customer, but the vehicle is
not located at the CarMax location that the customer is visiting, then the sales consultant is
involved in arranging for the transport of the vehicle from one location to the customer’s location
This may involve a variety of interstate transactions by sales consultants at both locations, by
drivers, and by the associates doing repairs on or reconditioning the vehicle, since in many cases

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the desired vehicle is located in another state than the customer. Similarly, sales consultants often
have to respond to inquiries from other Carl\/Iax locations that may be out of l\/lassachusetts and
arrange for transport of vehicles from a Massachusetts location to a location in another state.
Executed on this lst day of March, 2019, in Richmond, Virginia. l declare under penalty
of perjury under the laws of the United States of America, the Commonwealth of Virginia, and the

State of Massachusetts that the foregoing is true and correct.

/s/ Karen Holt
Karen Holt

CERTIFICATE OF SERVICE

l hereby certify that a true copy of the above document was served upon counsel for the
Plaintiff listed below via ECF March 11, 2019:

Brook S. Lane

Hillary Schwab

Fair Work, P.C.

192 South Street, Suite 450
Boston, MA 02111

/s/ Diane M. Saunders
Diane M. Saunders

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HOLT DECLARATION
EXHIBIT A

 

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HOLT DECLARATION
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Do you inquire immigration momentle to work llor CarMnr, either now or in thefuturo?m

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PLEASE READ THIS STATEME!\|T CAREFULLV

 

 

 

l hereby certify and aflirm that the information provided in connection with the application process to true, accurate and complete and than have
withheld nothing that wouid, ifdisclosod, affect this application unfavorabiy.

l hereby authorize CarMaxlo investigate all information pertinent to my application for employment in order to determine my qualifications for
employment which may include contacting fenner arld!or current employers or any other person orentity. l hereby authorize all persons end entitles
having information relevant to my application to provide that interrelation to carnllalr. l understand that any offer demptoyment may be rescinded or my
employment terminated limy inferences ala inadequate or unacceptable to CorMax, or ill violate any of tire provisions entitle certificationl

l understand that any omission misrepresentation or falsification in oonnection with this application process may be grounds for dental ofomployment
or, if hlrod, immediate tenninoilon of employment l further understand that ii l am hired by CarMax. l must abide by all tile rules and policies of CarMax
which. other then the at-wiit employment polloy. may be changed without notice at the direction of CarMax.
Piease indicate that you understand and agree to the terms outlined above

|,`(] l agree with the terms outlined ahove.

l understand that this document represents a summary of my electronic employment application and does not lholudo the full text of that electronic
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Page 3
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DlSCLQSURE AN_D AUTHORIZAT|ON
(Regarding the Use of consumer Repor\e for Employment Purpoees)

 

 

 

A consumer report or an investigative consumer r§port (collectively, “ooh'sumer_~ report")` may be obtained from
consumer reporting agencies _for employment purposes'~, including evaluating you for hire as ah applicant or. if
applicable for the purpose of evaluating you for promotion reassignment retention or other employment
decisions as an employee during the entire tenure of your employment with Cer[i,ilax, Inc. and/or ite parent(s).
effiitate_e, subclclierie`s, divisions., successors and assigns in such capacity ("the Company”).

The reports may contain information beaan on your credit worthinees, credit standin'g,. credit capacity
character; general reputation personal characteristice, or- mo.de of iiving’ 'l'he‘ nature and scope .of the
investigation conducted to compile the consumer report may include verification and inspection cf any lawfully
available records or information pertaining to you'rw'crk history, education criminal background, civil court
related actions=, driving history (inc‘lu<`;ling traffic-related offensee), creditor cred1teaipac1ty, any other information
available from any publicor otherwise documented records. as well as written or oral information from any
business professional or personal associates orneighbprs including your 110-workers and an_y_ referenoeo you

listed on your application or resume Vou have a right to request additional disclosures regarding the nature
and scope of thie investigation

 

 

Cone.um"er Report"Authorization*

 

 

By' my signature below. l voluntarily authorize the Company to obtain 'a consumer report about me for employment
purposee. l understand and agree that a consumer report ivey be obtained at any time. and any number of timee.

as the .Compeny in its sole discretion determines 18 necessary before ancilor during the entire tenure of my
employment with the Company

 

 

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DVR~SOBB

if you wish to be considered for employment with CarMax Auto Superstores. lno.. or its subsidiaries and affiliates
(collectively "CarMax’). you must reed.and consent to the following agreement._. Vou wilt beioon§ider_e;d as an

   
   
   
 

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CARMAX D|SPUTE RESOLUT¥O AGRE NT

l recognize that ditterences may arise between CarMax end me during my application for employment with CarMex. l
recognize that it is in the interest of both CarMax and me that disputes be resolved in a manner that is fair. private
expeditious, economical. tinal. and less burdensome or adversarial than court litigation CarMax has en effective
Open Door Policy. and l will try to take advantage of lt where feasible l understand. however. that not all issues
can be resolved using the Open Door Policy.

Exwptassetiorth beiow, and as morelullyeetforlh in the CarMaxDispuw Resolution Rulesand Proceduresl both
CarMax and l agree to aetna any and all previously unmerted claims, disputes or controversies arising out of or
relating to my application or candidacy for employment and employment and/or cessation of employment with
CarMax, exclusively by hnal and binding arbitration before a neutral Arbitrator. By way of example only, such
claims include claims under mderal, state and local stawtory or common law. such as the Age Discrimination in
Empioyment Act, Title Vlt ot the Civil Rights Aet of 1964, as amended. including the amendments of the Clvil
nghts Act of 1991, the Amerlcans with Dlsabillties Act, the Family Medical Leave Act, and the law of contract
and law of tort The scope of the claims coveied, as well as certain exclusions from coverage and other
important terms. are set forth in the Dispute Resclution Rules and Procedures

l understand that itt do tile a lawstit regarding a dispute arising out of or rotating to my application or candidacy for
employment employment or cessation of employment CarMax may use this Agreement in support of its
request to the court to dismiss the lawsuit and require me instead to use arbitration

t understand that nothing in this Agreement is intended to affect or limit my rights under the National Labor Retations
Aot and my right to tile charges or seekother relief with the Equal Employment Opportunlty Commlssion or similar
federal. state. or tocal agenoy, but that upon receipt of a right-to-sue letter or similar administrative determination,
l shali arbitrate any claim that l may have against CarMax that is covered by this Agreement or the Rules. i
agree that ifi commence an arbitration it will be conducted in accordance with the CarMax Dispute Resolutton
Rules end Procedures

l understand that neither this Agreement nor the Dispute Resolution Rules and Procedures form a contract of
emptoyment between CarMax and me. l further understand that my consent to this Agreement in no way guarantees
that CarMax will offer me employment if CarMax does offer me employment and l become armioyed at CarMax. this
Agreement in no way alters the "at~will" status of my employment l understand that my employment compensation
and terms and conditions of employment can be altered or tennineted, with or without notice, at any time, at the option
of either CarMax or myseif. l understand that no store manager or representative of Carivie)r, other than an Oflt'oer of
CarMax at the level of V'rce President cr above. has any authority to enter into any agreement for emptoyment for any
spec[lstic duration, to make any agmement contrary to the foregoing, or to alter the CarMax Dispute Resolulion Rules
and rooeduree.

 

 

Page 5
CARMAXS

 

 

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,CONF|DENTIAL CARMAX DOCUI\/|ENT - DO NOT DISCLOSE

DVR-6063

The Dispute Resolutlon Agreement and the Dispute Resoiutlon Rules and Procedures affect your legal rlghi:s. By
consenting to this Agreement you acknowledge receipt of the Dispute Resolutlon Rules and Proceduree. You may
wish to seek legal advice before consenting to this Dispute Reeolution'Agreement.

Ihave readmisAgieeme-ntandthe Dispute Reeolution Rulesand Procedures beibresutxmitv‘ng thisAppiication and bdcre
accepting an offer of employment with CarMax.

I understand that l may withdraw my consent to this Agreement within thnee (3) days from the date on which I consent by
noan the Background Sc'eenlng Department in writing {including my Sodai Semnty Number and addr&;s ofthe place at
which l applied for employment) that l am withdrawing my application for employment at CarMax. The addrees for the
Background Screening Department ls:

CarMax Auto Supershores, Inc.
Background Screening Department
12800 Tuckahoe Creek Pan<way
Richmond, Vlrginia 23238

i understand that by so noiifying the Background Screening Department in wn`ting, I will not be bound to this Agreement and
that I no longer will be eligible for employment at CarMax. l recognize that iff consent to this Agreement and do not withdraw
within three days of consenting l will be required bo arbitiaie, as explained above, employment-relawd dalms which l may
have against CarMax, whether cr notI become employed by CarMax.

This Agreement will be enfomabie throughout the application procee, my en'iplciymeni;l and thereafter with respect to any
such claims arising from or relating to my application or candidacy for employment employment or oe¢eoiion of employment
with CarMax. We then must arbitrate ali such employment-related claims diet are within the scope of wis Agreement and
the Rules, and we may not tile a lawsuit in court .

AGREBD:

 

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itronderieyears nr~age) _

 

CarMax agrees to consider this Employment Appiiation and to follow this Dispute R.esoluiion Agreement and the Dispute
Reeolutlon Rules end Pmmdures in connection with the Msociate who is completing this appncation.

Scott A. Rivas
Vloe President, Human Resources
CarMax Auto Superstores, Inc.

 

 

Page 6
CAR|\/IAXQ

 

 

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HOLT DECLARATI()N
EXHIBIT C

 

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CONF|DENTIAL CA.Rl\/IAX DOCUMENT - DO NOT DlSCLOSE

Sales Consultant Job Description

 

 

Generni Summary:
Under limited auponrlslon, responsible lor providing customer service and helping to meet indhrlduai and store sales gocls.

Prlnolplo notice Anci Reeponalbliltlee:
o Soii vehicles by providing exceptional matomer service l.iolen end respond lo customer needa. Aeel'si with vehicle valuation and ann~ering
queeticns.
Malntaln a workhg knowledge of aveilcbloinvenlory. trianan opilons, titled and-eidended service policlos.
Proceesee paperwork associated wilh retail automobile sales includith claim application wyolilnlonneiion. titles and other relatod~mateilals;
Melntelrrc cristomer base through follow-up contact that encourages pahonage.
Malntains sales ame, including placing vehicles lor dhplai'. verifying information on window slickors. reporting concerns to management and
other rlaleled'lasiuit
o Assislo in auctions and the vehicle appraisal prooeos. including paperwork collectionl vehlde transportation and successful delivery cl
appraisal figures lo the wslomor in a way that le poulive end compels lhen'r_lo want to cell the vehicle to uo.

.OO.

.lob Specificatione`:

Worir requires ability icc

Speai< and listen effectively in dealing with customers in person end over the phone

Muill-tesk in a high energy, ioolpoce work environment

Uae miscellaneous computer prcgmms. demonstrating intermediate PC skille.

Reed. informational transcribe data in orderto complete accuralo_pnperwcnr and maintain rewrite

complete CarMax provided sales training powell es outer company provided training and echeduletimeetings.

¢.00.

Woriring Conditlcne;
i Piensani but noisy sales tioor.
0 May mquiro walking pretending iore)rleodcd periods cl lime.
0 Flexlole work hours with china that may include nlghls. wookendo. holidays and 12-hour doye.
0 wears carMex clothing ‘(ocquimd liveth tire cornpnny) al all iirrree while working in the store

Uicclelmor And Approvale:
lois document lo~irdended lo doeoribeihe general nature and level clworl< belng performed by‘peopleaanlgmd ic this ioo, Tllio¢lnlonnailonlo _¢>umml~'a'l
:the time ol publication Reeponsibiliiiea may include other dulles as assigned and may be amended et thordlemeiion olCarMai¢wiih orvillle notioe.

Thls document has been reviewed and approved by management and Humon Resoun:oo and“can riot be modified without numnmnosnroyamernbcr
cl management authorized to modify any such reaponoibililleo.

CarMax-la an Equai Opporlunliy Employoroy both policy end practice and subscribes iot.fed‘erat and-slate lowe which forbid discrimination because of
race. colon age. rellglcn. sex, national origin or disability Employment ai CarMax is ol~wili. and therefore con oeierminaled, wlth.or wilhout'oause, at
any timc, et the option ofthe associate or CarMa)r. Thlo at-wli employment relationship will remain in eliecl lhroughoulan associates employmein
CarMax unless li le modiliod by o specllic, express written employment contract that la signed by an olliccr of Cerlvle)¢ and the associate Thls rat-will
employment relationship may not be modlliod by any oral or implied agreement Spediioeliy..tlile job description is not a connect of employment and
doea‘not create any contractual rights cl any kind between the Compeny and its Associateli,

 

can you perform the functions oft _ job with or without reasonath accommodation
Ye'o llc

  

Signatul'c:

v 9 s rig _M t
'MA Signature: rif indeed ‘/o.;

Dalcr OQIO?>] \LQ

Printed' ame:

 

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online in the lilrirrp Roanuroco Dalai>oso K.l<. -»-‘l»lumen Roxouroea

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H()LT DECLARATI<)N
EXHIBlT 1) `

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DISPUTE RESOLUTION RULES AND PROCEDURES

`A

Laat Rovisecl
December 31, 2014

 

 

 

 

 

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CARMAX DISPUTE RIBSOLUTION RULES AND PRO CEDURES'

Rulo le PURPOSE

CarMath established an employment dispute resolution proocrlmto, culminating in fonnat arbitration
thatis dasignocltn provide dillin privato, exolttslvo, oxpedlilous, linai, and binding means for resolving
legal disputes rising out of, or relating to, employment With CarMax, withouttbo ncarlfot: litigation in
federal slate or local courts. Those Dispute Rasotutloantas and Procedures govern arbitrations hold
pursuantto tito CarMlean Rosolullon Agroomattl:, yvttotitcr brought by abAssooiairo or by
CarMax. The term “Assooiato“ motudoa applicants, employaos, andformer omployees. Thoso Dispute
Rr>solut:lott Rules and Procedures are vuittonm guido all Associate through tito arbitration prooess;
bowovcr, they apply with nut force and oHootio botlt§Aesooiat/os and CarMax.

Bilile 22 CLAIMS SUB(IEC’I.` ‘l'O ARBITRATION

onopt as otherwise llmitodboroin, any and ali omploymontz-roial:od,logat disputos, controversies or claims
arising out oi'; or rolai:lngto, an Associato's application or candidacy for employment employment or
cessation ot` employment with CarMax ot otto ofiis affiliates shall bo satich exclusively by Hnot and
binding arbitration before a neutral ihlr<i~party Axbiirator selected in accordance witbthoso Dispute .
Rosotutton Rules and Pnoooclures. Arbitratlon shall apply to any end all such disputos, controversion or

claims whether asserted againstibe Compatty and/or against any employed offloor, alleged agana
direction or affiliate company

Alt~ptbviousty unasserted claims arising under federal state or local statutory, or oommonlaw, shallba.
sub-com arbitration Motloly byway ofexample, those claims iltoludo,`but aronol: timitodto, claims
arising under the Age Disotiminatlon inEmploymexttAot (ADEA), TittoVIl ofthe CtvilRigltls Aot of
1964, as amended includng amendments ofthe CivllRtgbts.Aor of1991, tba Amerioans With
Disabiliiios Aol: (ADA),titoFair Laer Slandurds Aot (BLSA), 42 U.S,C. § 1981, as amended iba
Bmployeo ?olygraplr]?boroottonlt.ol,tbo Brnployeo Ratitamentlnoomc SoouriiyAnt (BRISA), state
disorimibutlonsealntos, sme realities and/or common iawrogulattng omploymontterminatlon, tile law of
oontraot or lite law oftorl“, inolncihtg, but nat limitedio, claims for malicious prosecution Wl:ortgtirl

dischargo, wronth arrest/wronng bnprlsonmant; and tntentionrri/negltgontlnfiiorion of emotional
distress or doibmation.

 

Noihing herein is intortdediro aith or limtttbo Associaio’s right to lite an administrative charge with or

to otherwise soelcreiiofiiom, any government agency such as tboEquat Employment Opporlnnity
CotmnisstonortitoNationalLabot:RelarlonsBoaui. '

Cialms by Associatos for state employmenth bertoflts (o.g., unemployment compensation
worlcors' oomponsatlon, worker disability oomponsallou) claims arising under lite Nailonat lab or ,
Rolattobs Aot, or any claims or dispwoe by whistleblowa arising pursuanth tire Sarbanos~Oxley Aot
and alleging unlawl.ttl retaliation or seeking othorreliet‘&ursuantto that Aot, similth be subject to
arbitration Otlta): statutory or common law claims aing gibai CarMax totaliatod or discriminated
against an Assoolana, howovor, shallbo subject to arbitration

 

 

 

 

 

 

 

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Fcr purposes ofthis Rule, claims against “Carl\dax” shall include claims against any parent
comp any, subsidiary, or related company, claims against any officer, director, cr associate
(current or former), and claims against any alleged joint enlployer.

Rule 31 DISMISSAL/STAY OF CGUR'I.‘ PROCEEDINGS
By agreeinth the Dispute Resolution?rogranl, both CarMax and the Associate agree to resolve
through arbitration all claims described in, or contemplatedby Rule 2. If either Party riles alawsult in

counts resolve claims subjectto arbitration both Parties agree that the Court shall dismiss the lawsuit
andrequire the Parties to arbitrate the dispute

Ifeither Patty files alawsuit inCcurtinvclving claims which are, and other claimswith are not, subjeettc
arbitration bctlll’arties agree tbatthe court sball stay litigation ofthe nonarbitrable claims and require that
arbitrationle place with respectto those claims subjectto arbitration TneParties tbrdter agreetbat the
Arbitrator‘s decision entire arbitrable clairns, inclung any determinations as to disputedfacuial or legal
issues shall be entitledto dill force and efi`ectiu any later court lawsuit on any nonarbitrable claims

ours 4; communications or summation
a. PR,OCEDURE

AnAssociate shall commence an arbitration by completing and sending tile attached CarMax
Arbltration Requesttc:

Arbltration Coordinator
Carlvlaan\no Superstcres,lnc.
12800 lacksth Creelc?srlcnay
Ricbrnond,VA 23238

b. TIME LIMITS
i. FILING OF REQUEST FOlt ARBITRATIO‘N
The CarMax Arbiiration chuestliorm shall be submitted no later than the applicable statute

of lindtations for the asserted claims under the applicable law. The failure of an Associate to

initiate an arbitration within the applicable statute of limitations sbali constitute a waiver with
respect to that dispute relative to that Associate

ii. CARMAX'S RBSPONSB

Within menty~one (zl) calendar days ofreceipt of an Associate‘s Arbltration Request Borrn,

the Company shall send the Ccrnpany's Response to the Associate via first~class mail, postage
prepaid, or hand delivery.

\

c. NOTICE/OTHER FENGS
All other communications , notices or filings including discovery requests and responses
shall be in writing, and shall be deemedtc have been given if (i) delivered by hand to aperson
of suitable age and disoretlorn or (ii) mailed first~class snell, postage prepaid, as follower

 

 

 

 

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Ifio CarMax: °
i, Atbiiiation Ccondinator
CaiivIaXAnto Superstores,lnc.
12800 'l\xol<al:loe C£eelcl?arlcwey
Richmoncl, VA 2323 8; or

ii. to the Coropany‘s attorney as designetedin writing by the Company.

l`.€io tile Associate: ' l
ili. to iiie Associaie's address ofrecordas ii appears oni.ne ArbinationRequestFonn; or

iv. to the Associaie's enemy as designateder ArbicraiicnRequestFonn or later designated in
Wriiiogby the Associate .

Rule 5: SELECTION OF AN ARBI'].`RATOR

CaiMax aniline Associate shall participaoe equally intne selection cf an Asbinator io decide the
arbitration Wiihin lwenw~ono (21) calendar days after the Company receives iiie Associaie‘s Arbitcation
\ Requesil?orm, Netional Arl)iteatlon and Mediatlon {NAM) or other Arbitcation Service, such as die
American Arbiifatiansso cieilon, as may be ageeeclio layilne Partles, shall lee askedto provide a panel
of seven (7) neutral arbitiaiors with experience deciding employment disputes Ifihe Con\pany another
Associate cannot agree upon combination Ser:vice, then eitheer cr AAA silalibe used, withine
final selectionl>eing detenminedl)y coin toes pen?onnedl)yihe Coinpa . Once an Ari)io:atlon Service
is selected the chnpuny andihe Asso oie.te then shall have the opportuniin reviewihe backg:cuncl of
the arbitrators by examiuingtne materials providedl)yille Aiicitroiion Servico. Witiiin seven (7) calendar
days ai.’cer the panel compositionis received inc Associate andihe Cornpany each shall inform the
Arbinatlon Servioo which arbiirciols die Patiles inducemeptablo for deciding the dispute The
Aibitsatlon Servioe ihenvvlll appoint an Arl)itraeur ii:om among the named individuals the Pai:ties found
acceptable If ali arbitrators on the first panel funnshedl>yilie Arbis:ation Service are stricken by ina
Pattles as unacceptable for decidingthe dispote,ihe Arlsitroilon Secvice is authorized to furnish an
additional panel, iionn which each party ivey spike op ic three (3) arbitrators. ThePortiea mostprovide
their responses to the additional panel within seven (7) calendar days to nw Arbitvaiion Senvlce cimino

additional panel compositlon is received The Arbitrailcn Service will then appoint an arbitrator fccer
remaining names.

Rule 62 PRE-HEARING PRO CEDURES; TIME AND PLACE OIi‘ ARBITRATION

a. Pcilowing appointment of the Arbitrator, the Arbitrctor shell promptly hold an initial pre~
hearhig conference With inc parties The purpose ofthe initial prehearing conference shall be,
among other ihings, for the Arbiira.ior to set deadlines fora (1) adding or amending claims
end/or parties to the arbitration {2,) any dispositive motions, opposition briefs, and repr briefs
thereto, and (3) the date of any motion hearings, and the timing of the Axi)itrator’s ruling on any
dispositive motions. Follovsdng the initial pre-hearing conference the Arl)itratos shall promptly
issue c Scheduling Ordes to the parties setting the deadlines above, as well as any other '
deadlines required by these Dispute Resolution Rules and Procedures or the Axbiii‘eton The parties
may mutually consentio amendthe Soheduling Orclei~, subjecttc approval by the Arbinaton Iftheporiies
do not mutually consentto amendtlie Scheduiing OJ:de):, uponihei:equesi cf any Pany and a showing of
good cause,ilie Ai’oitrator maypermitamendmentto the Sclieduling Otden lending on arequestic

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cmendtho Soneduiing Oider for good oeose, the Arbitrator shall be guided by the Federaanies of Civil
Procedcre.

b. The arbitration hearing shall lee held atthe offices of, or s location seleotedloy. the Arbitroticn Sorvice
intlto city necrosttiie location Wiicre the Associate Wc.s or sougntto be empioyedwiihthe Company,
unlessthe Parties agree otherwise Ifthe Arloinietion Sorvice does not select an arbitration iocationwitnin »
tiny (50) miles_ofthe city ofthe Associate's lest employment widttnc Compony, the Associate endthe
Compony shell designate omotuelly amenable location at whiohto holdtne arbitration

The Partios and the Arl:itt‘etor shall make every effortto ensune distine arbitration is oornpleted, ondan
award rendered as soon as possible There snalii)e no extensions oftime or delays o£an arbitration .
hearing exoeptin cases winono boilil?at:ties consent on the extension or delay, or Wloere the Arbitrctor finds

soon o delay or extonsionnocessaryto resolve c discovery dispute or other matter relevantto the
arbitration

Ruie 7 : REPRESENTATION'
Botlttlte Associate cndtlte Cornpany snell novo the rightto be represented by counsel

Rtiie 8: DISCOVERY \
tt. INITIAL DISCLOSURE

Witnin fourteen (14) calendar days following the appointment of anArbitrater, the Parties shell provide
each other with copies of all documents (exceptfor privilegeddoootnents inst are pnoteotednom
disclosurebeccuce they involve attorney~elient, dcotcnpetient or other legally privileged or protected
communications or mnteriais) upon whicitthoy rely in support ofinelr claims or defenses 'I'hrcughcutthe
discovery phase, each Party is under econtinuing obligationtc supplementh initial disciosure.Upon
xequest, the Associate sholi‘oe entitledto coopy of alidocuments (exceptprivilegod documents as
described cbovc) inthe Associate‘s “PBRSONNBL RBCORDS FILE.“

b. OTHERDISCOVERY
i. INTBRROGATORIES/DOCUMBNT RBQUESTS
Baoh Party may propound op to twenty (20) interrogatories (inoiuding subparts) to the opposing
Perty. lnterrogatories are written questions osl<edi)y one Porty to the otnen who must answer under
ostir. Snch interrogatories moy include orequestfor eli documents upon whiohtneresponding Party
relies in support of its answers to the interrogatories Answerstc noerrogotories mustl)e served
within twenty~one (21) calendar days ofreceipt ofthe interrogatorios.

ii. DBPOSIT[ONS

A deposition is a statement under oethdiat is giyen by one Party inresponse to specific questions
from the otheer and usually is recorded or transcribed Esch Party shalll:)e entitled to take the
deposition of up to three (3) individuals ofthe Party's choosing TheParty midng the deposition

shell be responsible for eli costs associated therewith such cs the cost of o court reporter and the
cost ofatre.nseript.

v any

 

 

 

 

 

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iii. ADDITIONAL DISCOWERY

Upontbe request ofany Party anda showing ot`gocd oause,the Arbin.~atormay permit additional
disoovery;but only iftne Arbitrator iindsibat such additional discovery isnot overly burdensome and
will notunduiy delay conclusion ofthe atbin:ation.

c. DISCOVBRY DISPUTES

The A;rbitrater shall decide all disputes relatedto discovery. Suo‘n decisions shall be final and binding on

the Perties. In ruling on discovery disputes tire Arbitrator sballbe guided by tile discovery niles contained
in tire Federal Rules of Civil?rc cedure.

e."rlMo son ooMPLu'rloN ou mscovnav
All discovery must be completed within the ninew (90) calendar days after the selection cftlne '
Arbitrator, except for good cause shown orbymutual consent ofthe parties, subjeottc approvalbytbo

Arbitrator. la order to expedite the arbitration inc Parties may initiate discovery priorto tire appointment
ofthe Arbittator.

Rule 9: HEARING PROCEDURE
u. WITNESSES

Witncsses shall testify under oatn, and the Arbitrater»shail afford each?erty a sufficient,opportunity
to examiners ownwitnesses and cross-examinewimesses ofthe otlierP . Eitncr Party may issue
subpoenas compelllngrne attendance ofanypersonnoccssaryfortite issuing Party to prevails case.

1. surrou`uas

A subpoena is s oommandto an individualto appear at a certain place andtlrue in order to provide
testimony. A subpoena also may require tltattlie individual bring documents ruben be or she gives

testimony The Arbitratcr shellbavetne authoritth enforce and/or cancel such subpoenas provided
that seen subpoenas areissuedno less than ten (10) calendar days prior to the commencement of an
arbitration hearing or deposition Tne Party issuing die subpoena shall beresponsible fortna fees and
expenses associated wltiltlre issuance and enforcement ofthe subpoena and with the attendance ofthe
subpoenaedwiuiess attire arblnodcnnearing.

n. sEQUEsTRATl<)N

The Arbio:ator shall ensuretbat all witnesses who will testify attire arbitration are not influenced by
timtestimony cf other witnesses Aocordingly, the Arbiiratormay sequester all witnesses Who will
testify attire arbitration providodtnattne Arbiu:ator sliallpermittne Asso slate bringing die

arbitration andtho Cornpany's designated representative no remaintbrcughout tire arbitration even
thougbtbey may or maynottestify at the heating.

b. EVIDENCE

The Parties may odor evidence that is relevant andmateriai to the dispute and shall produce any and
all nonprlvileged evidenccvvbiohtbe Arbiuator deems necessaryto render adetermination ofthe dispute
The Arbittator need not specifically follow the Federal Rules‘ovaidence, although these rules maybe
consultedto resolve questions regardingthe adndssibility ofpartioular matters

 

 

 

 

 

 

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a curran or races

BortheAssociatetoprovail,tiie Associaternustprnvetbat'die Company*s eonduotwitbreopeotto dieAsscciate . z
was avioiation o£applicablelaw.l?ordie Companyio prevail on any claims asserted againstanAssociare,'dce .
Ccrnparur mustprcvetbatthe Associate’s conduotwas avtolatlon of applicable law.

d. BRIBFING

Baclii?arty sballhavetne opportunity to submit cneprebeanngbnefand one post-bearlngbrlef, vvbiob is a .

vvritten statement effects and law, in support of its position Briefs sbailbetyped and sballbe lirnitedin
lengtiito twenty (2)0) double-spaced pages

_¢ \~.¢1

Prenearingbrie£s maybe submittedno later denton (10) calendar days priorto ascheduled arbitration f `
hearing. Post~hearingbrlefs maybe submitted no later dnnunenty (20) calendar days after tbe Parties
receive tiieiransoript ofthe arbitration ironitlre court reporting service

e. TRANSCRIPTION

'llie Parties rney arrange for transcription ofthe arbinutionby acerdtledreporter. The Partles shall share
evenly tire costs ofthe reporter and transcription

i’. CONSOLIDATION
i. CLAIMS

CarMax andthe Associate arerequiredto bring all existing claims subjectio orbitrationin one arbitration
proceeding. Any such claims nctbrougbtinone arbitration shalibevvaived andprecluded. lite Mbitraior

sball_haveihepovver to near asmany claims as an Associate and CarMaxmay have against each other
cousin tentvvitnliuie 2 ofdrese Dispute ResolutionRules andl£rocedures.

ii. PARTIBS

'l`lie Arbltratcr shall not consolidate claimsl of different Associates into one proceeding nor shallthe
Arbitrator have die powerto hear an arbitration as a class action, collective action, or representative _
action (A class action involves an arbitration or lawsuitwbero representative members ofalarge group
wire claimto share a common interest seelc collective reliet).

g. CONFIDBNTIALITY

All aspects cf an arbitration pursuantiotbese Dispute ResolutionRules and Pro oedures, including the
hearing andrecord ofthe proceeding shallbe contidential and shall notbo operate tire public, except (i)
to the extentbotb Parties agree otherwise in writing; (ii) as maybe appropriate in any_ subsequent
proceedingbeuneentbe Psities, or (iii) as may otherwise be appropriate inresponso to a governmental
agency or legelprocess. All settlementnegoiiations, mediations, and the results thereof shall be
confidential l\lotbing in this section shall be constiuodto restrict tile right of an attorney to practice law.

non 101 suss'raurrvu ono:ron or raw `
Tbe Arbitrator shall apply the substantive law ofthe State inwbicbtheAssociate is, was or souglitto be
predominantly employed For claims arising under federal luw, the Arbitrator snell follovvtiie substantive law

applicabletotbo United States District Courtfcrtbe districtinwbiclitne Associate is orvvas predomwantly
employed

 

 

 

 

 

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Rule 11a ARBlTRATOR AUTHORITY .
The Arbitrair)r shall conduct the arbitration and shall have inc authority to reader a decisionin 1
accordance With these Dispute Resoiuiion Rules aodProcedures, and in summer dcsignedto promote
rapid and fair resolution ofclisputos. To that end, the Arbio:ator shall have tire authority to consider and
rule on dispositive motions such as motions to dismiss or motions for summary judgment in accordance
With tire standards and burdens generally applicableto such motions in federal district court untimely
establish appropriate procedures to resolve such motions, attire Arbitrator’s discretion consistentvvith
the less formal and expeditednausre of arbitration proceedings Sevon ('7) days prior to tile scheduled
arbitration hearing, tire Parties snaiiparticipate in ateleplicne conference wiriithe Arbitrator. Where a
Party has challenged the legal suftioionoy of unasserted claim or defense in apro~hoaring brlei‘, each
Party may be heard AParty making such a challenge should file tire prehearing brief as early as
possible to permit due consideration ofthe issue. The Arbitrator shall strike any legally deficient claim

and/or defense by ruling communicade the Partios pursuantto tito deadline set by the Solieduling
Order forruiing onan;v dispositive motions ‘

a, JURISDICTION

The Arbitratoi’s audiority shailbe iimitedto deciding the claims, counterclaims and defenses submittedfor
arbitration Unless tire Associarois subjoctto a contract providing fcrthe employment ofthe Associate
under specifiedterms or for a given duration, tireAssooiate‘s employrnentremains alterable attire
discretion ofthe Ciompany and/or terminable at any ilmc, attire vvili of citixertlie Associate ortho
Company, with or without just cause Aocordingly, tire Arbitrator sbalihave no authority to require that
Caiiviaxhave "justoause" to discipline orto discharge anAsso clair orto change tbotenns and conditions
of employment ofanAssoclate, unless specifically required by federal state or locallavv, or as areniedy
for a violation of applicable lawby the Company wifhrespectto fire Associate

b. SANCTIONS

The Arbitrator shall have the power to awardsanctions against aParty for tire Party's failure to comply
with these Dispute Resolution Rules andPrcccdures orvvitii an' order ofthe Arbitrator. These sanctions
may include assessment ofoosts, prohibitions oi‘ovidence, or, i€justiiiodby aParty‘s wanton orvvillful

disregard ofthese Dispute Resolution Rules andl’rocedures, en adverse ruiinginiiie arbitration against
tire Partywho lies failedto comply.

Rule 122 AWARD

Witiiintwenty~one (21) calendar days siler receipt ofanyposchearing briefs the Arbitraror sballrender a
decision initio form of awritsen award andmailto the parties a copy ofthe Written awardspecifying

appwprlateiemedics, ifany. Inilie Arbiirator‘s discreticn,the awardmayinclude iindings of fact and
conclusions oflavv.

ThePartiesio‘an arbitration shallbeprovidcd witltacopy ofthe Arbltrators award Otlier Associates vvho
have agreodto arbitrationniay request copies ofthe arbitration decisions in a given oase. lit cases vviiere an
arbitration decisicnis providedto anAssociate who was not aPaityto the particular arbitration the Party~

Associato's name shall ice deleted ii'omiloe arbitration decisicuuniesstho Party-Assooiate agrees otherwise
inwritlng.

 

 

 

 

 

 

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'Rule 132 FEES AND EXPENSES

a. COSTS OTHER THAN A’ITORNEYPEBS .
i. Dei.initions
Costs of arbitration include filing or administrative fees charged by the At\l)itratiort Sorvico, hourly fees
cbat'geclbytlte Arl)lttator, and expenses oftentlng croom inwliich the arbitration is held. kleidental
costs include suohitems as photocopying ortho costa ofptoclueing witnesses or procf.

ii, Costs of Arl)itraticn

CarMax shallpay the costs of arbitration, excluding incidental costa Coets telated,to preparation of
the heating transcript ifaay, shallbe subjeot~to the provisions ofRule 9(e) above

b. ATTORNEY FEES '

The Arbitratct is authorizedto award attorney fees in accordance with applicable law. lathe absence of
an awatd, eachl?at'ty shall be liable for its own attorney fees. Any award shallbe reasonable in light of
tile amount aacl complexity ofworlc iovolveclinthe atoltr:ation, and in accordance with customary
billing rates cf attorneys lathe geographic ateairtwhich the arbitration is held.

Rule 142 REMDIES AND DAMAGES `

lillie Axl)ilt:atot finds forthe Associate, the Arbitrator, in his disorction, may award appropriate iollefin
accoaiaoce with applicable lew..Ifapproprlato reliefiacluclcs ioinstatemcot, each rehtstatemont Wllll)e to
theposition of employment the Associate held co lfsuchtelnstatemeatis impractical to a comparable
position attlie location ofthe Asso ciate's last employment Ifrelnstatement at the place ofthe Associate‘s

last employment is not practical reinstatement wllllae to a comparable position at CarMax intiie sarno
general geographic market area.

Ruie 151 SETTLEMENT

'llte Partios may settle their dispute at anytlme. Prlor to closure ofthe arbitration hearlng, tile Patties may
settle the case without involvement ofthe molitator. Gncetheheeringhas closcd, settlement may take
place only Withthe approval ofthe Arbittator.

At any pointpclortothe Arbittatct's issuance ofac awatd, the l’aetles may, lay agteement, refer their dispute
to mediation before amcdiatctptovidcdbytho Atl)itratlcn Service.

Rulc 16; ENFORCEABEITY

The Dispute Reeolutlou Agreement and any awaxtl renderedputsoantto it shall lee enforceable and
subjeotto the Bederal ArblttatlonAct, 9U.S.O.§ l, et ama aoclthe Uoiform Atbitc‘etlon Act ofVirgiriia,
§§8 .01»~581.01 et §e_q¢,, regardless ofthe State in which the arbitration is held ct the substantive law
appliediothe arbitration. The Associate and the Compaay aclmowlcdge tl)attlle Associate’s

employment with the Ccmpany and the Dispute ResolutiooAgtcement involve interstate commerce and
that the Fecleral Axl)lt¢:atlon Aot is controlling

Rule 17a APPEAL RIGHTS
‘Ilte awardrendere<ll)y the Atbltiatci: aliallbetloal andblnding asto bothihc Associate andthe Compaoy.
Eitherparty may appealthe Arbitlatot’s decision to a courtlrtaccctdancewiththe appealproccolmes ofthe

l?ederal Ali)itratlonAct, 9 U.S.C. § 1 e_t_geg.,,_ot' the Uniform Arbitratloo Act ofVirginia, §§8.01~581.019§
§§§l:

 

 

 

 

 

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little 181 SEVERABILITY/CONFLICT Wl’l‘H LAW

lottie eventtllat any oftheae Dispute ResolnticnRoles andProoeclares agreed uponl)y the Partlca is held
to be in conflict with amendatory provision cf applicable law, the conflicting little or Procedure shallbe
modified atttomatlcallyto comply widithe mandatoryprovision of applicable law until such point as these
Dispute RcsolutionPclles ardProcedures may bemo difled inaccordance wlthRule 19 below, ln the event
ofan automaticrnoditlceticnwlth respect to apartlcularRole or Procedure, tile remainder cftlaere Rules
andeedures shall notice affected Anautomatic modification ofone oftilese Rules orl’rocedures shall
be applicable only inth jurisdiction inwliicllltis ioconilictwltli amendatory provision oflaw. ln all
cttierjutiscliotlcve, these Dispute Resolutlcn Rules mdeccdures shall apply infoll three and effect

little 191 TERMINATION GR MODIFICATION OF DISPUTE RESOLUTION
AGREEl\/IENT OR DISPUTE RESOLUTION RULES AND PROCEDURES
CarMaxmaymcdlfy crterminato die Agreementandthese Dispute Rccoluticnlcalee and'Procedotee on
December 31 of any year upon givingtllirty (30) calendar days written notice to Associates, providedthat
all claims accrued or arislrgl> efore modification or termination elialll)e oobjecttc the Agreement and
corresponding Dispute ResoloticnRoiee and Procedures inelcht atthe time said claims accrued cr arose
Oiiierwise, all claims shall be subjectto thoRulce in effect attire time tire ArbitrationRequcstFonnis
receivedl)ytite Coinpany.l\loticc maybe given lay posting awrlttcn notice by December l ofeachyear at
all CarMax locations (includiog locations of affiliated ccmpanicc). Accpy ofthe modified Agreement or
Dispute Resclctioanles andPrccedures wlllbepubliahed end available irl/die CarMaxDispnte
Rerclatlanandooolc (wlilcltls available entire CarMax Way intranet system) andthrcugtthe CarMax
Online Employment Applicationaiterl)eceml)er 31 of each year. ~

 

 

 

 

 

